         Case 4:23-cr-00008-CLR Document 1 Filed 01/17/23 Page 1 of 1


                                                                                        FILED

                      UNITED STATES DISTRICT COURT
                                                                            John E. Triplett, Clerk of Court
                                                                              United States District Court


                      SOUTHERN DISTRICT OF GEORGIA                     By JamesBurrell at 2:07 pm, Jan 17, 2023

                           SAVANNAH DIVISION

THE UNITED STATES ATTORNEY CHARGES:

 UNITED STATES OF AMERICA                      )   INFORMATION NO.                  4:23cr-008
                                               )
 v.                                            )   18 U.S.C. §§ 7 and 13
                                               )
 ROBERT W. HAILE                               )   O.C.G.A. § 16-6-8
                                               )   Public Indecency

                                   COUNT ONE
                                  Public Indecency
                                  O.C.G.A. § 16-6-8

      On or about September 14, 2022, in the Southern District of Georgia, on land

within the special maritime and territorial jurisdiction of the United States and

under the concurrent jurisdiction of the United States and the State of Georgia,

namely Fort Stewart Military Reservation,

                                ROBERT W. HAILE

did unlawfully perform a lewd act by exposing his sexual organ and appearing in a

state of partial nudity in a public place, in violation of Title 18, United States Code,

Sections 7 and 13, and the Official Code of Georgia Annotated, Section 16-6-8.


                                        DAVID H. ESTES
                                        UNITED STATES ATTORNEY


                                        /s/ Michael Spitulnik

                                        Michael Spitulnik
                                        Special Assistant United States Attorney
                                        IL Bar No. 6321559
